                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 SONS OF ARTHRITIS, LLC,                         §
                                                 §
              Plaintiff,                         §       CIVIL ACTION NO. 4:18-cv-03834
 v.                                              §
                                                 §
 JOHN DOES 1-130,                                §           JURY TRIAL DEMANDED
                                                 §
                Defendant.                       §
                                                 §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                       PURSUANT TO F.R.C.P. 41(a)1)(A)(i)

       Plaintiff SONS OF ARTHRITIS, LLC hereby dismisses all claims against the following

John Doe Defendants listed on Exhibit “A” pursuant to the Federal Rules of Civil Procedure

41(a)(1)(A)(i), and subject to the Court, that all claims in this action be, and hereby are dismissed

WITHOUT PREJUDICE, and with all attorneys’ fees, costs of court and expenses borne by the

party that incurred them.

Dated: February 4, 2019                               Respectfully submitted,


                                                      /s/ Todd Y. Brandt
                                                      Todd Y. Brandt
                                                      State Bar No. 24027051
                                                      BRANDT LAW FIRM
                                                      222 N. Fredonia Street
                                                      Longview, Texas 75606
                                                      Telephone: (903) 212-3130
                                                      Facsimile: (903) 753-6761
                                                      tbrandt@thebrandtlawfirm.com

                                                      Attorneys for Plaintiff
                                                       Sons of Arthritis, LLC




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                              CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who are deemed to have consented to electronic
service are being served this 4th day of February, 2019, with a copy of this document via the
Court’s CM/ECF system per Local Rule CV-5(a)(3). Any other counsel of record will be served
by electronic mail, facsimile transmission and/or first class mail on this same date.

                                          /s/ Todd Y. Brandt
                                          Todd Y. Brandt




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